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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

 

 

 

NEWPORT EXCHANGE HOLDINGS, INC., OTA CASE NUMBER
FRANCHISE CORPORATION, a Nevada Corporation, et al.
8:21-cv-1167-DFM
Plaintiff(s),
V.
AXIS INSURANCE COMPANY
NOTICE OF DISMISSAL PURSUANT
TO FEDERAL RULES OF CIVIL
Defendant(s). PROCEDURE 41 (a) or (c)
PLEASE TAKE NOTICE: (Check one)
M This action is dismissed by the Plaintiff(s) in its entirety.
L] The Counterclaim brought by Claimant(s) is
dismissed by Claimant(s) in its entirety.
L] The Cross-Claim brought by Claimants(s) is
dismissed by the Claimant(s) in its entirety.
[1 The Third-party Claim brought by Claimant(s) is

 

dismissed by the Claimant(s) in its entirety.

L] ONLY Defendant(s)

 

 

is/are dismissed from (check one) L) Complaint, L) Counterclaim, LJ Cross-claim, L Third-Party Claim
brought by

 

The dismissal is made pursuant to F.R.Civ.P. 41(a) or (c).

August 31, 2021 /s/ Mark L. Eisenhut
Date Signature of Attorney/Party

 

NOTE: F.R.Civ.P. 41(a): This notice may be filed at any time before service by the adverse party of an answer or of a motion for
summary judgment, whichever first occurs.

F.R.Civ.P. 41(c): Counterclaims, cross-claims & third-party claims may be dismissed before service of a responsive
pleading or prior to the beginning of trial.

 

CV-09 (03/10) NOTICE OF DISMISSAL PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE 41(a) or (c)
